                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,         )
                                  )
          Plaintiff,              )
                                  ) No. 2:19-cv-00009
     v.                           ) JUDGE TRAUGER
                                  )
OAKLEY PHARMACY, INC., d/b/a      )
DALE HOLLOW PHARMACY;             )
CLAY COUNTY XPRESS PHARMACY, LLC; )
THOMAS WEIR; MICHAEL GRIFFITH;    )
JOHN POLSTON, and LARRY LARKIN,   )
                                  )
          Defendants.             )

                                     ORDER

       The Joint Consent Motion for Entry of a Preliminary Injunction Order filed by Plaintiff

United States and Defendants Oakley Pharmacy, Inc., d/b/a Dale Hollow Pharmacy (Dale Hollow),

Xpress Pharmacy of Clay County, LLC (Xpress), and Thomas Weir against these three Defendants

is GRANTED. It is hereby ORDERED that the Temporary Restraining Order entered on February

7, 2019 (Docket No. 10) and extended on February 21, 2019 (Docket No. 37) is hereby converted

to a preliminary injunction, the terms of which are hereby EXTENDED until further order of the

Court. Since a preliminary injunction is now in place against all Defendants in this action, the

hearing on the Plaintiff’s request for a preliminary injunction, which was set for June 12, 2019, is

now CANCELLED as moot.

       It is so ORDERED.

       ENTERED this 10th day of June, 2019.

                                                     ___________________________________
                                                     ALETA A. TRAUGER
                                                     United States District Judge




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